      Case 4:07-cr-00127-SWW             Document 737      Filed 07/07/15      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                        *
                                                 *
                    Plaintiff,                   *
vs.                                              *        No. 4:07-cr-00127-10 SWW
                                                 *
                                                 *
NATHANIEL BURROUGHS,                             *
                                                 *
                    Defendant.                   *

                                              ORDER

       The motion [doc.#736] of Nathaniel Burroughs for a copy of his docket report is hereby

granted. The Clerk directs the Clerk to provide Burroughs a copy of the docket report as it

pertains to him.


                                 IT IS SO ORDERED this 7th day of July 2015.


                                              /s/Susan Webber Wright
                                              UNITED STATES DISTRICT JUDGE
